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IN THE COUNTY COURT OF THE THIRTEENTH JUDICIAL CIRCUIT
IN AND FOR HILLSBOROUGH COUNTY, FLORIDA

 

COUNTY CIVIL DIVISION
MARTHA HALL, Case No.: 10-CC-026806
Plaintiff, Division: L
vs. RECEIPT OF FILING
W.S. BADCOCK CORPORATION, hav OF Zi!
Detendant. CLERK OF CIRCUIT COURT
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DEFENDANT W.S. BADCOCK CORPORATION'S
MOTION TO STAY CASE AND COMPEL ARBITRATION

 

Defendant, W.S. Badcock Corporation (“Badcock”), by and through the undersigned
counsel, and pursuant to the Federal Arbitration Act, 9 U.S.C. § 1 et seq., moves this Court for
the entry of an Order staying this action and compelling arbitration. In support thereof, Badcock
states as follows:

I. This action was commenced when plaintiff, Martha Hall (“Plaintiff”), filed a
complaint in this Court on or about October I, 2010 against Badcock (the “Complaint”).

2. The Complaint contains forty-five repetitive paragraphs separated into two causes
of action against Badcock.

3. In the first count, Plaintiff alleges that, in the process of collecting an alleged
consumer debt from her, Badcock violated Florida’s Consumer Collections Practices Act, Fla.
Stat. § 559.55, et seq. (*FCCPA”). Specifically, Plaintiff alleges a violation of Fla. Stat. §
559.72(7) for “willfully engaging in conduct expected to” harass or abuse Plaintiff.

4, In the second count, Plaintiff alleges a violation of the Telephone Consumer

Protection Act, 47 U.S.C. § 227, et seq. (“TCPA”). In particular, Plaintiff alleges a violation of

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47 U.S.C. § 227(b)(1)(B)(iii) for placing non-emergency telephone calls to Plaintiff's telephone
without prior express consent.

5. The two counts set forth in the Complaint arise out of Badcock's servicing of
revolving credit account opened by Plaintiff pursuant to a Badcock Easy Purchase Plan Credit
Agreement, dated April 17, 2008, executed by Plaintiff and Ida Mae Kelly, in favor of Badcock
(the “Agreement”), A true and correct copy of the Agreement is attached hereto as Exhibit “A.”

6. The gravamen of the Complaint is Plaintiffs allegation that Badcock harassed
Plaintiff through its method of collecting a debt as Badcock was allegedly not provided prior
express consent by Plaintiff to contact her cellular telephone, in contravention of the FCCPA and
TCPA. These statutory cause of actions, which arise out of and relate to the Agreement, should
be decided in arbitration, in accordance with the Agreement’s binding agreement to arbitrate,
which Badcock invokes herein.

7. Under both federal statutory provisions and state law, a court must consider three
clements in ruling on a motion to compel arbitration: (1) whether a valid written agreement to
arbitrate exists; (2) whether an arbitrable issue exists; and (3) whether the right to arbitration has
been waived. Reeves v. Ace Cash Express, 937 So. 2d 1136, 1137 (Fla. 2d DCA 2006); Maguire
y. King, 917 So. 2d 263, 265-66 (Fla. Sth DCA 2005).

8. First, there must be a valid agreement to arbitrate. Under the Agreement, which
gave rise to the servicing obligation, the parties agreed that all disputes where the aggregate
amount at issue exceeds $7,500 would be resolved by binding arbitration governed by the
Federal Arbitration Act, 9 U.S.C. §1, et seq. (the “FAA”). The arbitration clause provides in

part:

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ARBITRATION. You and we agree that cither you or we may,
without the other’s consent, require that any controversy or dispute
between us and you (all of which are called “Claims”), be
submitted to mandatory, binding arbitration. ‘This arbitration
provision is made pursuant to a transaction involving interstate
commerce, and shall be governed by, and enforceable under, the
Federal Arbitration Act (the “FAA”), 9 U.S.C. § 1 et seq., and (to
the extent State law is applicable), the State law governing this
Agreement.

(the “Arbitration Clause”). ‘Thus, a valid agreement to arbitrate under the Federal Arbitration

Act, 9 U.S.C. § | et seq. exists between the parties.

9. Second, an arbitrable issue exists. The Arbitration Clause in the Agreement is
extremely broad and covers all claims including “any and all claims or controversies arising out
of or related to any aspect of the relationship between us and you.” The Complaint’s allegations
of violations of the FCCPA and TCPA arise out of the servicing of the revolving credit account
that was created pursuant to and evidenced by the Agreement. Therefore, this action arises from
and relates to the Agreement and the relationships and dealings which result from the
Agreement. Indeed, the FCCPA defines “debtor” or “consumer” as “any natural person
obligated or allegedly obligated to pay any debt.” Fla. Stat. § 559.55(2), Standing to assert a
cause of action under the FCCPA is provided to the person liable for the debt on the Agreement
which creates the servicing obligation and contains the Arbitration Clause. Thus, Plaintiffs
standing is derived from her status under the Agreement, preventing her from claiming that the
cause of action is not related to the Agreement.

10. Moreover, Plaintiff's claim under the FCCPA is a state Statutory claim which is

appropriate for arbitration. In Reeves, the Second District affirmed an order compelling the

 

arbitration of a debtor’s FCCPA claim. 937 So. 2d at 1137-38. The Second District specifically
held that FCCPA claims are not excluded from arbitration as a matter of law, and rejected the
notion that FCCPA claims are somehow distinct from and excluded from a contract’s arbitration

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provision because of public policy. Id.; sce also Taylor v. Green Tree Financial Servicing Corp.,

 

260 B.R. 548 (Bankr. M.D. Fla. 2000) (court finding a similar arbitration clause valid and
enforceable in a bankruptcy proceeding where plaintiff was seeking to enforce substantive
statutory rights under the federal Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et. seq.
(“FDCPA”).'

Il. Finally, the right to arbitration has not been waived where Badcock has not acted
in any manner inconsistent with its ri ght to arbitrate.

12. It is well-settled that public policy favors arbitration of disputes “because it is
elficient and avoids the time delay and expense associated with litigation.” Regency Group, Inc.

v. McDaniels, 647 So. 2d 192, 193 (Fla. Ist DCA 1994). Thus, when a court must decide

 

whether a particular dispute is subject to arbitration, all doubts about the scope of the agreement

should be resolved in favor of arbitration. Id.; see also The Hillier Group, Inc. v. Torcon, Inc.,

932 So. 2d 449, 453 (Fla. 2d DCA 2006) (recognizing Florida’s strong public policy in favor of

 

arbitration).

13. Based on the foregoing, including the binding precedent of Reeves v. Ace Cash
Express, Inc., 937 So. 2d 1136 (Fla. 2d DCA 2006), the stay of this case and referral of this
cause to arbitration are appropriate and justified under the law.

WHEREFORE, Defendant, W.S. Badcock Corporation, respectfully requests that this
Court issue an Order staying this action, including discovery, and referring this matter to

arbitration, as well as any other and further relief as is just and proper.

 

' The FCCPA gives due consideration and great weight to interpretations of the federal courts with reference to the
FDCPA. Fla. Stat. § 55.77(5). As such, the Florida Consumer Collection Practices Act should be construed in the
same manner as the FDCPA,

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Respectfully submitted,

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JOHN EZJOHNSON

Florida Bar No. 593000

RYAN C, REINERT

Ilorida Bar No. 0081989

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Tampa, FL 33602

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Facsimile: (813) 229-8901

Email: jjohnson@shutts.com
rreinert@shutts.com

Attorneys for W.S. Badcock Corporation

CERTIFICATE OF SERVICE
I hereby certify that a true and accurate copy of the foregoing has been sent this Ist day
of November, 2010, via U.S. mail and facsimile to James S. Giardina, Esq., The Consumer
Rights Law Group, 3802 W Bay to Bay Blvd., Suite 11, Tampa, Florida 33629, (866) 535-7199

(facsimile). eos

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_3, APPLICANT. & CO-APPLICANT. Gf anphcfbicy.

HAS APPLICANT [CO-APPLICANT) EVER DECLARED GANKAUPTCY? YES) NO O)
HAS APPLICANT (CO-APPLICANT) EVEN SEEN EXTENDEO CREDIT THROUGH ANY BAOCOCK STORE? VES O so

IF YES, WHICH STORE? (ctty & state): -:

AS! of tte information stated on this appication is, to th basi of your know.edge, comple and sccuiaie. You agree tha) we may obtain a croc! burceu
feport on you and wo may varity any cf ihe information: provided on this application, lududig sesidancy, By completing ang signing this appication, you
roquest 4 account be aslabished which wil allow you lo make purchases under thls sccount. By signing, you agree to te lerms and concions atoow
(he Credit Appication and the Badcoot Easy Purchase Plan Agrasment Form LOZF REVIZC7FL (which Includes sn arbitration provision}, wtuch form is
part of this combined Creo Appination and the Bascock Easy Purchase Pian Agreement, and Is incotporated hasein by 1eterence. You understand that
it approved, you agree to the terra Of the account enc that you have read and recelved 8 opy ol your agresmant before making any purchases on this
account. The 19:ms are afachod. Ul this is a joie credit epplicavon, you understand thal eact) applicant has the rigrt to vse the account and both parties
shal be Jointly and severalty Gable for ai puschases mace undar the accoun! by any jcint eppacent. NONCE TO BUYER: (2) Do not sign this before
you reed lor if it contains sny blank spaces, (0): You are eniitied to en exect copy of the papor you sign. (¢) You have the right to poy in
edvance the full amount due. ANY HOLDER OF YidS CONSUMER CREOIT CONTRACT IS SUBJECT TO ALL CLAIMS AND DEFENSES WHICH
TME DEBTOR COULD ASSERT AGAINST THE SELLER OF GOODS OR SERVICES OBTAINED PURSUANT HERETO OR WITH THE PROCEEOS
HEREOF. RECOVERY HEREUNDER BY THE DEBTOR SHALL NOT EXCEED AMOUNTS PAID BY THE DEBTOR HEREUNDER. YOU HEREBY

ACKNOWLEDGE RECEIPT OF A FULLY EXECUTED ANO COMPLETE COPY OF THIS CONTRACT.

 

 

 

 

 

 

 

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BADCOCK EASY PURCHASE PLAN CREDIT AGREEMENT

This Badcock Easy Purchase Plan Credit Agraemont CAgroemert”) governs your W. S$, Badcock Corporation revolving account (‘Account’) for
consumer credit purchases made at any Badcock Homes Furnishing Center or Badcock Home Furniture & more store focation. The words you,” "your" and
“Accountholder’ in this Agreement refer to each person who signs this Agreement and any person who 's otharwise rospensibie fer the Account. The words “we,”
“our? and “us” refer to W. 9, Badcock Comoration, its successors and assigns. Our principal place of business is 200 N. Phoephals Boulovard, Mutbany, Florida

33860.

In Consideration for us cpening this Account in your name, you egrae to the following:

1. ACCEPTANCE OF ACCOUNT, You wil pay us as provided In this Agrsament tor ail amounts owed cn the Account for each purchase made by you,
by any other Accounthokder, of by ay person who hes your permission to use this Account, whether the purchase Is made in person, or by telephone, interme! or
mail, If thore are two or more Accounthoidors, the Account Is a joint Accaunt and each Accounthalder Is jointly and Individual liable for all amounts owed under
this Agraament and is bound by the terms of tis Agreement. This Agreemont supersedes any pricr agreements you may have with va. You that this
Agrasment provides you with the Information the fodoral Truth-in-Lending Act raquires belore credit Is extended and that this Agreement shal becomes offective
when you receive your copy of the Agreement containing the requied information and an authorized user on the Account uses the Account In a Lansaction tn
which we extend cradit undar the Account,

 
  
 

2: § MENTS, MINIMUM PAYMENTS, LATE EB. At the time of aach purchase, you will make a down payment In an amount
that Is at least 25% of the cash price, pus salog tax. From time to time, at our option, we may allow you to make purchases with a reduced or no down paymont,
You will pay us each month the minimum monthly payment (logother with any past due paymonts) with respect to your Account: you may pay us a higher amount
at any Ume, You will receive a statement from us each month showing your naw balance and the minimum monthly payment, You must continua to pay the
minimum payment due even if you natty us of a dispute on your Account unless the whele balance Is in disputa. H you make a payment that (s dishonored of
retumed unpaid tar any reason, you authorize us to add to your Account an amount equal ‘o tho highest charge authorized by law for ratumod payment feas, H you
fail to pay the minimum monthly payment wihin 10 days after the due date (30 days in NC, 15 days In M9), the folowing will be charged to your Account: $10.00
in AL, FL, M3, and TN; $25.00 in GA; the greater of $10.00 o7 5% af your minimum monthly payment in KY; the lessor of $14.50 or 5% of your minimum monthly
Payment (but not tesa than $5.80) In 8C (subject to any Increases allowod by South Carciina lew); the lseser of $10 or an amount not to excoad 5% of your
minimum monthly psymant in VA; 5% of your minimum monthly payment not to exceed $16 in WV; and $$.00 # your unpaid balance Is less than $100 and $10.00

It your unpaid balance Is $100 or mara in NC.

3. FINANCE CHARGES, Yeu wil also pay us a FINANCE CHARGE each month. We wil figure the FINANCE CHARGE by applying the monthly "p
tate’ described belcw to the “average dally balance? (Including current transactions) of your Account: 8 pesiodic rate In NC of 1.5% (ANNUAL PERCENTAGE
RATE of 18%); a pertodio rate in PL of 1.992% {ANNUAL PERCENTAGE RATE cf 23.8%) to the portion of the avenge dally balance of your Account which Is
$5000 of fess and a parlodic rate of 1.5% (ANNUAL PERCENTAGE RATE of 16%) to the partion of the average daily balance of your Account which Is more than
$5000 (Thie rete la authorized pursuant to Sections 816.031 and 687.12 of the Florida Statutes); a periodic rate in GA, MS, KY, and TN of 1.75% (ANNUAL
PERCENTAGE RATE of 21%); a periodic cate In SC of 20% (ANNUAL PERCENTAGE RATE of 24%); a periodic rate In AL of 1.75% (ANNUAL PERCENTAGE
RATE of 21%) to the portion of the average dally balance of your Account which Is $70 or loss and @ periodic rate of 1.5% (ANNUAL PERCENTAGE RATE of
18%) to the portion of the average dally balance which !s more than $750; a porlodia rate in VA cf 1.625% (ANNUAL PERCENTAGE RATE of 21.9%); and «
pariodis rate In WY of 1.5% (ANNUAL PERCENTAGE RATE ci 18%) to the portion of the avorage dally balance of your Account which ts $750 or less and a
parlodic rate of 1.0% (ANNUAL PERCENTAGE RATE of 12%) to the portion of the average daly balance which Is more than $750. To gat tho “average daily
balance” we take the beginning balance of your Account each day, add any new purchesos and other transactiona and subtract any payments cr credits, This
gives us bbe Arar sion Thon, we add up all the dally batences for the billng cyclo and divide the tatal by the number of days in the billing cycte, This gives va
the “average dely balance." The minimum FINANCE CHARGE imposed in any month wil be 60 cents (except In FL and KY, where thare is no minimum charge).
FINANCE CHARGES will be charged from the date of purchase (even If you pay your next bill In ful). No the above, no FINANCE CHARGE wil be
imposed in any month in which thera Is no previcus balance, end no additicned FINANCE CHARGES wil be impose Gn your next monthly statement Uf you pay

balance In full within 18 days (25 days in NC and VA) afer tha closing dais on your Account. Also notwithstanding the above, in MS no FINANCE CHAAGE
vat statement on which the purchase intialy aposers, the

will be imposed for a new purchase if you pay in full, within one month after the clating date for the billig

“now balance® shown on such billing statemont. Tho closing date Is the last day of cach monthly cycle that paymonts and transactions will post to your Account for
that cycle. We may offer and you may accopt special purchase plans and (he torms wil be set forth af the time cf your purchase. All othar terme of this Agreement
epply to special purchase plans, ‘Your felture ta meat those special purchase plan terms wil relnetate afl terms cf this Agreement.

4, OTHER CHARGES, You also will pay us ell cthor charges under your Account, These other charges inciuds tees lor dailvery and setup, and charges for
insurance thal you voluntarily elect to purchase,

5. BULING ERRORS, REQUIRED NOTICE. Tho dolivery af your monthly statemant or other notice to any Accounthoider at the billing address then shown
on our records will constitute dalivery and natles to all Accountholders, You agras to provide us al lscst 10 days prior written nolice of any change In your name,
home address, bling address, or place of employment end If you have not already done 90, you wil note any such changes on the payment stub of your current
monthly statement and retum # to us. You have read the notice at the end of this Agraomant regarding your rights and rezponsibiliies with sespect to billing errors.
You a rae to nollly us promptly about possible errors of problems on your account. I! you violate any Lerma of this Agreement, a negative raport may be submitied
to credit reporting agencies and entered on your credit record. It you bofieve wa have reported Inaccurate Information regarding the secourt, you shoutd follow the
procedures described in the Billing Rights section at the and of this Agreement. All billing inquirlas or notices should be sent to P.O. Box 104, Mulberry, Florida

33860.

 
       

6. ACCOUNT PURCHASES, ‘You wil sign 8 sales ailp al tho time of each purchase in our store; and in case a purchase ls made by telephone, intamel or
by mail, you will accept our salas sip showing such sale and our recard of delivery of goods purchased as conclusive evidence (complete proc) of such sale and
delivery. The lect thera Is no signature on a saiss stip for the purchase of goods will not rellove you of your obligations under this Agreament, The monthly
statement of your Account, Indleating any purchases any possitie mistake within 60 deys
afer the first monthly statement which shows the possible mistake was mailed to your biling address, Yeu consent to the use cf secure eloctronic signature
Capture for storing arid documenting any purchase you maka on the Account. You may order items for dellvary at « later date, but the emourt of the order will be
added to your Account at the time of purchase. Title to the marchandisa you purchase wid pasa whan you accept possassion at our store location or when the
merchandiso Is ioaded onto a common carter or our dalvery truck if you choose our dalivery service.

7, SECURITY INTEREST, You heraby grant us « purchase money security Interest In each Rem of property purchased on the Account (uniess a security
interaai ls not permitted by law}, oxcapt for any property that, when installed, wil become a fixture. You and we Intend that floor coverings and unit alr conditioners
will not be fixtures no matter how they ave Installed, Granting us a security interest means we keap an interest In the property unui you pay us for § In full as
explained in this Agraemant. Such security Interest will secure the total amount due from time to time on each Item and wil remain in such tem until the tots! cash

‘price has been pald in ful. We will apply payments on Account in the folowing order: fat to the paymont of finance charges in the order of thelr antry to the
Account and then to the payment of cther debts (including without Umitation the unpaid purchase of ftems, insurance charges, late fees, court costs, retuned
payment Ieos, delivery charges, and set-up of Installation fees) In the order of thalr entry to the Hf you purchass more than one tem on the same dats,

 

 
 

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payments will be applied first lo the psymant of the amaitsst debt. You agroe that the sacurily interact will give both us and you aii the rights and remedies granted
by tha Uniform Commarcist Cade as it applies from time fo time inthe stale where this Agraement is signed.

8. DEFAULTS, APPLICABLE LAW. You wiki be In defaudl of this Agreament and your Account upon the occurrence of any of tha fallowing: 1) f you do nol
pay all of any raquired minimum monthly payment when itis due; Ait you cle, are dectared togally Incompetent or file a patition for bankruptcy protection or other
tnscivency action; 3) ¥ we determine ihat you have provided (alae or misleading information or signatures enleting to thig Account: 4) If you default on any othar
account or agreement you hava with us; o¢ §) if you in any other way fail to meet your obligations under this Agreement, in each case as otherwise required by taw.
If you are in dafault, we may doctare the entire balance of your Account Immedlataly dua and payable without notice, snd, # you do nct pay the balance, wo may
repossess and you will immediately surrender to aur possession any and all property for which you have not fully pald and [in which we stif have @ securtty Intereat,
If yous failure to meet our obligations undar this Agreement reauits in our placing your Account with an attomey who Is not 8 salaried employee of ours for feplevin
or other tegal action, you will pay us reasonable fees for atlornays and all court and other coats related to such setion, In each case to the fullest extant pamnitted
by law, and such foes and costs will be added ta your Account in any proceading lo collect on your Accaunt, we may use a photographic copy or elactronic image
of any salas silo of other document to establish the validity of any sale. You hereby consent lo attachment, gamishment and/or other toga! process of your wagas
and othar aamings to the extent permitted by appileable state and fedoral tawa {without imitation, the foregoing sentence ts not applicable in South Carulina),
Uniess otharwize provided by this Agreement, this Agreement is governed by the intemal taws of the slate in which the store Is located where you make your

purchases pursuant to this Agreoment.

9. TERMINATION OR CHANGES TO AGREEMENT. We or you (including any Joint Accountholder acting alone) may terminate this Agreement st eny ume
upen written natics to the other, provided, tha termination of this Ageomant by olther party will ia no way change your responaltliity to pay the whole balance due
on your Accaunt under the Lams of this Agreement, Including purchases mace but not yet billed, and to do everything else required by this Agreement until
payment has been made In ful. Once notice of termination has been given, no further purchases may be made under ths Agresmaal, We may chango this
Agreemant by mailing written notice of the change to tha Accounts billing address as then shown on our records. Except as otherwise prohibited by law or as
otherwise provided In the notice, all changes will be effective 30 days after the dele of malting and wH epply to al] outstanding Indobiadnass a9 well a8 new
transactions, provided, that you may reject the changes by providing us wallten notice (wkhin 15 days of the dals that the netics of the chsnge was malied to you)
of your rejection matted to us at the eddress In the Billing Rights sacton at the end of this Agreemant. Hf you dmely provide such written notice to ua and make no
further purchases an your Account, than the changes will not apply io your Account or lo this Agreamant; however, in such event, we may restrict or prohibit any
edgitional purchases on your Account snd/or terminate the Account. The fallura lo provide such notics on a timely basls or any furthar use of your Account (even if
a notica rejeciing the changes has been sent) wil be considered an acceptance of ail changes In terms. Yeur Account will be classified as Inactive, and
torminated, # there le no currant bafance and thara has bean no acity for a pariod of 36 months,

10. ARBITRATION. You snd we agree thal either you or we may, withoul the othar’s consent, require that any controversy or dispute botwesn us and you
(ail of which are called “Clafms’), be submitted to mandetory, binding arbitration. This arbitration provision is meds pursuant to a transaction Involving Interstate
cammerce, end shall ba govemad by, and enforceable under, the Federal Arblration Act (tha °FAA’), 9 U.S.C, §1 ef seq., and {to the oxtent State law Is

applicable), the State law goveming this Agreement.

This provision does not affect the rights of elther party to exercise any eight to self-help reposasssion. We and you further understand and sgrea that
arbitration will be required only In the event that the aggregate amount(s) at issue arising from ail of (he Claime between us exceetis $7,500 (Including
but not lmited to the value of any property at Issue, money, attorneys’ fess, punitive damages, injunctive rallef, declaratory rallef, and any and all other
Claims that we or you atiempt to sesert on behalf of ourseives or any others). You understand that you altenipt to assert any claim or controversy on
bohalf of = putative class of persons, the amount of the damages you seek shail be deemed to exceed $7,590. Other than in emall clalms or similar
precoediag, If any party falls to specify the amount being sought for any reilef, or any form or component of rallaf, the amount being soughi shall be

deomed to exceed $7,500,

CLAIMS COVERED: Claims subject to erbitration Include, but aro not limited to, eny snd all claims or controvorsies rising out of or related to any espact of the
relaticnship between us end you, including any claims by olthar paty’s sgenis, asalgns, attorneys, employees, officers, insurers, or any other repragentatives.
This arbitration clause eppiles lo all transactiona cccuring before er aftar the exacution of this Agraemant. .

INITIATION OF ARBITRATION: The party filing arbitration must choose one of ths following three arbitration administrators: Nationaf Arbitration Forum; American
Arbitration Association; or JAMS. Ali parties must follow their nlas and procadums for initiating and pursuing arbitration, Uf you Initiate Uve arbitration, you must
alsa nollfy us in writing to the Avbitralion Officer st P.O, Box 232 Mulberry, FL 33880, if we Initiate the arbliration, we wi notify you In writing at your then current
billing address or (If your Account is closed) the last address al which wa contacted you. Any arbiiration haaritg that you ettand will be held at a place chosen by
tho erbfirater cr arbliration administralor in the same city aa the U.S District Court closest to your then currant Billing sddress, of al acme cther place lo which we
and you agree in writing, You may obtain copies of tha current rules of each of the three albivvation adminisiratora named ebove, and cther relatad matestale,
Including forms and instructions for initiating an srbitration, by contacting the arbitration sdministrators as follows: National Arbitration Forum, P.O, Box 50194,
Minneapolis, MN &5405, Wab elite: American Arbitration Association, 335 Madison Avenue, Floor 10, Naw York, NY 10017-4805, Web
www lemsadrcom,

site: www.edrorg: cr JAMS, 1920 Maln Strest, Sulta 300, irvine, CA 92610, Web site:

PROGEOURES AND LAW APPLICABLE IN ARBITRATION: A cingle, neutral arbitrator will reeotve Claims. Tha arbitrator will be setectad in accordance with the
rulas of the arbliration administrator, The srbitratian wil be conducted under the eppitcabla procedures and nuies of the arbitration administrator that are In effect
on the date the arbitration is filed unless this arbitration provisicn [a ncansistent with those procedures and rules, in which caso this Agreement will prevail. You
may choose to have a hearing and be represented by counsel, The erbitralor wil lake masonable steps to protect your cuatemer acceunt Information and othar
confidential Information, Including the use of protective orders to prohibit disclosure outside the arbitralicn, ¥ requested to da s0 by us. The arbitrator will have the
power to award to @ party any damages of other retlef provided for under applicable Isw, and will not have the power to award reilef to, against, or for the benefit
of, any parson who Is not # party lo the procaeding. The arbitrator will make any eward In willing but noed not provide a stetomont af reascns unless requasied by
3 party. Upon a request by us of you, the arbitrator will provide a brief'stetoment of the reasons for the award.

COSTS: If we file tha arbitrallon, we will pay the inital fillng faa. if you file the arbitration, you wil pay the inilal fillng fae unieas you seek and quallly for a feo
welvor under the appicabie rules of tho arbitration edmintstrator, Wa wid ralmburee you fer the iniilal filing foo If you paid # and you provall. If thara Is a hesring, we
will pay any fees of the arbitrator and arbitration administrator for the firet day of that hearing. All cther feos wal be allocated tn keaping with tha rules of the
arbitration administrator end applicable law, However, we will advanca of reimburse fillng fess end other foas Hf the arbitration administrator or arbitrator
determines there Is good reason for requiring us to do so, or you ask us and we datarmine there fa goad cause for dcing so. Each party wil bear the expense of
that party's atomays, experts, and witnassas, and other axpansas, regurdiaan of which party prevalis, except that the arbitrator shall apply any applicable law in
datarmining whother s party should recover any or al expenses from ancther pany,

NO CONSOLIDATION OR JOINDER OF PARTIES: All parties to the arbitration must be IndMdually named, Claims by persons other than Individually named
parties shall not be ralsad or datermined, Unless consented to by all parties to the evditration, Clalms of hwo or more persons may not be jolned, consolidated or
cthenwige brought together In the samo erbivration (untoss thase persone are applicants, co-appicants or autherizad users on a single Account ander related
eecounts or parties to single Lrensaction or related transections); this Is sa whathar or not the Claims (or any Interest in the Claims) may hava been assigned, [This

paragreph is not applicable in Weat Virginia}

 

 
 

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ENFORCEMENT, FINALITY, APPEALS: Wa or you may bring an action, including @ summary of oxpediled mation, to compel arbitration of Claims subject ta
* afbilralion, or to sisy ihe iltigation of any Claims pending arbtiration, in sny court having jurtediction. Fallure of forbosrence to enforce this arbitration provision st
any particular lime, of in connection with any particular Clatme, will not constitute @ waiver of any rights to require arbitrauion at a later tme or in connectlen with
any other Claims. Any additional or different agroamant botwaen us and you regarding arbliration must be in writing. An awerd by the asbitrator sfer 15 days have
passed shell be fine! end binding on the partes, subject to fudicia! review that may ba pammitied under the FAA, An award in arbitration will be enlorcanble es
provided by the FAA cr other sppilcabte law by any court having jurisdiction, An eward In arbitration shall determina the fights end obligations between the named
parties only, and only In respact of the Cleims in erbliretion, end shall net have any bearing on the rights and obligations of any other parson, nor on the reschiticn

of any other dispute er controversy,
SEVERABRITY, SURVIVAL: This srbiration provision shall survive: (1) larminaticn or changes In this Agreement, your Account and the relationship botwoen us

and you conceming your Account: (i) tia benkruptcy of any party, and (ii) any transtor or sesignmnent of your Account, or any ¢mounts owed on your Account, to
Sny other perecn. If any partion of this s/bltretion provision la daomad invalid or unanforcesble, the remaining portions shal) naverthelase remain in force,

11. NO WAIVER. We may deley or chocee not to enforce any right In this Agreement without losing cr walving that right, including, but not Umited to,
eccopting tale or pertlal payments. Any walver of rights by us must be In writing and signed by cur authortzed tepresentative.

12. CREDIT LIMIT. We wil sat a Umit on the amount cf crodil we wilt give to you and we may [ncrasse, decrease, suspend or terminate this Emit at any time
without prlor notice, You will be notifled of yaur credit limit when the Account Is opened and on o@ch manthly statement, if you go over your selablishad credit
Umit et any time, you wil atill be charged for all purchases mada and tha amount axceeding your credit limk wil be immediately due and payable,

13, AUTHORIZED USERS. You understand you may grant permission in writing for cerlain persons (0 use your Account (“suthorized users”) under the
terms of this Agreement, and you wil be responsibie for ail charges mada by any suthorized user.

14. UPDATED FINANCIAL INFORMATION, Upon requsst, you wil prompily give us eccurate updatod financial information about yourself,

16. CREDIT INVESTIGATIONS AND REPORTING, You egree that we may Invastigate your credit, employment and Income records and verily your creda
references, and that wa also may report! tho status and payment history of your Account to crodil reporting agencies, our sfflistes, and deaiere. You authorize us
to previde Information on you from your appiicstion and other sources to cur afflates, including but not Lmited to our desiers. We may Inform our sffllates,
Including but not United to our dealers, of the credit [mit an your account. You suthorize us to obtain @ consumer report from consumer reporting agencies In
considering your appilcation, and for the purpose of sn update, renawal, extension of crodit, review or collection of your Account. if you ask whether or not a
Consumer report was requested, we will tell you end if we recelved a report, wo wil ghe you the name and address cf the agency that Amished Wf you befeve
any Infarmation provided to 8 credit reporting agency is incorrect, you should notify us in wrillag al P.O. Box 1034, Mulberry, FL 33860, inciting the specific
reason you belleve there Is a discrepancy.

16. MONITORING PRACTICES, You agree that cur supervisory personne! may Wsten to and record telephone calls batween our representatives and you tn
order to evaluate the quailty of cur sarvies to you and olher accountholders,

17. We may asi), sesign, or transfer your Account of any portion thereof without notice to you, You may not sal, asalgn, or
tranefar your Account.

18. SEVERABILITY. if any provision of this Agraemant is datarmined to be void or unenforceable under any law, rule, or regulaticn, afl othar provisions of
tho Agreement wil remain valid and cnforcosble.

YOUR SLLING RIGHTS
KEEP THIS NOTICE FOR FUTURE USE

This notice contains important Information about your rights and our responsibilities under the Fair Crodit Biling Act,

Notify Us in Case Of Errore Or Questions About Your Bil, ff you think your bil ls wrong, oF If you need more Information ebout s transaction on
your bill, write us on # separate sheet of paper (not on the monthly statement or peyment receipt) at W. 3. Badcock Corporation, P.O. Box 1034, Mulberry, Florida
33860, Write to us 28 goon as possible. We must hear from you no later then 60 days after wa sant you the first bil on which the error or probism appesred. You
can talaphone us, bul doing 20 will not preserve your rights, in your latter, give us tha following information:

¢ Your name end Account number,
© — The dower amount of the suspected error.
* — Desertbo the error and exptain, W you can, why you ballave there is an armor, If you nead more Information, daseribs the lem you ara not suro about,

Your Rights and Responsibilities Afier We Recetve Your Writtan Notice. We must acknowledge your letter within 30 days, uniess we have
corroctad the error by lien. Within 90 days, we must elthar correct the esror or explain why we believe the bil was correct. After we recelva your letter, we cannct
Uy to collect any smount you question, of report you as dofinquent. Wo can continue to bill you for the amount you question, Including finance charges, and we can
apply sny unpsid smounl sgainst your credit lim?. You do nol havo to pay sny questioned amount while we are investigating, but you are alll ob%gated to pay the
parte of your bi that ere not in question, :

tf we find that we made a mistake on your bil, you will not heve to pay any Gnence charges related to any quastioned amourt. {f we didn't make 8
mistake, you may have to pay finance charges, and you will have to make up ny missed payments on the questioned amount. in ather case, we wil send you a
statement of the emount you owe and the date that i ls due.

if you fal to pay the amount thal wa think you owe, we may report you as cellaquant. However, if our explanation doas not satisfy you and you write to

us within 10 days taling us that you atill refuse to pay, we must fo anyone wa repert you to that you have @ quealion ebout your bill. And, we musi tell you the
name of snyone we reported you to. We must tall enyons we report you fo that the mettor has been soled between us when It finally bs,

it wa don't folaw these niles, wo can't coltect the first $80 of the quéstioned amount, even If your bil was correct.

 

 
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W. 8. BADCOCK CORPORATION PRIVACY POLICY

Keeping customer information secure Is a top priority for ail of us at Badcock. In order to help you understand what
information we collect and how we use it, we have Implemented this Privacy Policy. Unless we Indicate otherwise, the
term “information® in this Privacy Pollcy means Information that specifically identifies you. This Privacy Policy applies to
all current and former customers of Badcock, ©

What Information la Collacted
In the process of serving you, we become aware of certaln "nonpublic personal Information” ~ Information about you that

Is not available publicly. This information comes to us from a variety of sources Including:

¢ — [nformation you provide directly to us on applications or otherwise (such as Social Security number, assets and

income);
* — Information related to your transactions with us, or-othera (such as your account balance, payment history, parties to

transactions and account usage);
¢ — Information we recelve about your transactions with nonaffillated third parties; and
¢ — Information that we receive from a consumer reporting agency.

We protect personal Information we collect about you by maintalning physical, electronic, and procedural safeguards that
comply with applicable law and assist us In preventing unauthorized access to that Information. We train people who werk
for us how to handle personal Information and we restrict access to It.

We Do Not Sell Any Information .
We do not permit list brokers, mail-order businesses, telemarketers, or other marketing companies to contact you to

promote thelr preducts or services, and we do not sell, lend, or give out your Information for this purpose. If you area.
former customer, we maintain the confidentlality of your personal Information as if you were still a customer.

We Strive To Maintain the Accuracy Of Your Information —
We work to ensure that the Information conceming you Is accurate In all aspects. If we become aware of inaccuracies in

our records, we will take prompt steps to make appropriate corrections.

What Information We Disclose :
Federal law allows us to share information In certain circumstances:

¢ We may disclose information we collect, as described above, to companies that perform marketing services on our
behalf or to other financial Institutions with which we have joint marketing agreamants.

« We may share your Information with companies that we hire to perform necessary account-servicing functions at our
diractlon, to manage, service and maintaln your account.

We also are permitted under law to disclose nonpubilc personal Information about you to “nonaffillated third parties In
certain other circumstances, For example, we may disclose nonpublic personal information about you to third parties to
assist us In processing your application with us, to government entitles In tasponse to subpoenas,.and to credit reporting

agencies,

 

Badcock&more Baleock

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